             Case 1:25-cv-00766            Document 3          Filed 03/15/25         Page 1 of 3




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


J.G.G., et al.,

Plaintiffs–Petitioners,

                                v.                                   Case No: 1-25-00766

DONALD J. TRUMP, in his official capacity as
President of the United States, et al.,

Defendants–Respondents.



         EMERGENCY APPLICATION FOR A TEMPORARY RESTRAINING ORDER

        Plaintiffs and the proposed class are imminent danger of being removed tonight or early

tomorrow morning under the Alien Enemies Act—and this Court permanently losing jurisdiction.

        Pursuant to Rule 65 of the Federal Rules of Civil Procedure, and the All Writs Act, Plaintiffs-

Petitioners and the proposed class hereby apply for a temporary restraining order against Defendants-

Respondents (“Defendants”). Plaintiffs are civil immigration detainees who are at substantial risk of

immediate, summary removal from the United States pursuant to use of the Alien Enemies Act, 50 U.S.C.

§ 21 et seq. against a non-state actor for the first time in the country’s history.

        As set forth in the accompanying Memorandum of Law, Defendants’ invocation and application

of the Alien Enemies Act patently violates the plain text of the statute and exceeds the limited authority

granted to the Executive Branch by Congress. Defendants’ invocation and application of the Alien

Enemies Act also violates the Immigration and Nationality Act, statutes providing protection for people

seeking humanitarian relief, and due process. In the absence of a temporary restraining order, Plaintiffs

will suffer irreparable injury, and the balance of hardships and the public interest favor relief. Critically,

moreover, if Plaintiffs are removed to the custody of another country, this Court will lose jurisdiction.

        In support of this Motion, Plaintiffs rely upon the accompanying memorandum in support of a



                                                       1
            Case 1:25-cv-00766           Document 3         Filed 03/15/25        Page 2 of 3



Temporary Restraining Order, declarations, and motion and memorandum for class certification. A

proposed order is attached for the Court’s convenience. Plaintiffs respectfully request that this Court grant

this emergency application and issue a temporary restraining order tonight.


Dated: March 15, 2025                                Respectfully submitted,

Noelle Smith*                                        /s/ Lee Gelernt
Oscar Sarabia Roman*                                 Lee Gelernt (D.D.C. Bar No. NY0408)
AMERICAN CIVIL LIBERTIES UNION                       Daniel Galindo (D.D.C. Bar No. NY035)
FOUNDATION                                           Ashley Gorski*
425 California Street, Suite 700                     Omar C. Jadwat*
San Francisco, CA 94104                              Hina Shamsi (D.D.C. Bar No. MI0071)
(415) 343-0770                                       Patrick Toomey*
nsmith@aclu.org                                      Sidra Mahfooz*
osarabia@aclu.org                                    AMERICAN CIVIL LIBERTIES UNION
                                                     FOUNDATION,
Arthur B. Spitzer (D.C. Bar No. 235960)              125 Broad Street, 18th Floor
Scott Michelman (D.C. Bar No. 1006945)               New York, NY 10004
AMERICAN CIVIL LIBERTIES UNION                       (212) 549-2660
FOUNDATION OF THE DISTRICT OF                        lgelernt@aclu.org
COLUMBIA                                             dgalindo@aclu.org
529 14th Street, NW, Suite 722                       agorski@aclu.org
Washington, D.C. 20045                               ojadwat@aclu.org
(202) 457-0800                                       hshamsi@aclu.org
aspitzer@acludc.org                                  ptoomey@aclu.org
smichelman@acludc.org                                smahfooz@aclu.org

                                                     Somil B. Trivedi (D.C. Bar No. 1617967)
                                                     Bradley Girard (D.C. Bar No. 1033743)
                                                     Michael Waldman (D.C. Bar No. 414646)
                                                     Sarah Rich*
                                                     Skye Perryman (D.C. Bar No. 984573)
                                                     DEMOCRACY FORWARD
                                                     FOUNDATION
                                                     P.O. Box 34553
                                                     Washington, DC 20043
                                                     Phone: (202) 448-9090
                                                     Fax: (202) 796-4426
                                                     strivedi@democracyforward.org
                                                     bgirard@democracyforward.org
                                                     mwaldman@democracyforward.org
                                                     srich@democracyforward.org
                                                     sperryman@democracyforward.org


                                                     2
Case 1:25-cv-00766   Document 3   Filed 03/15/25      Page 3 of 3




                            Attorneys for Plaintiffs-Petitioners

                            *Pro bono representation certificates or
                            Pro hac vice motions forthcoming




                             3
